Case 1:25-cv-00339-JDB   Document 80-12   Filed 04/18/25   Page 1 of 5




              EXHIBIT 10
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Case1:25-cv-00339-JDB
     1:25-cv-00339-JDB   Document
                         Document80-12
                                  31-1   Filed
                                         Filed02/13/25
                                               04/18/25   Page
                                                          Page12of
                                                                of45
Case
Case1:25-cv-00339-JDB
     1:25-cv-00339-JDB   Document
                         Document80-12
                                  31-1   Filed
                                         Filed02/13/25
                                               04/18/25   Page
                                                          Page23of
                                                                of45
Case
Case1:25-cv-00339-JDB
     1:25-cv-00339-JDB   Document
                         Document80-12
                                  31-1   Filed
                                         Filed02/13/25
                                               04/18/25   Page
                                                          Page34of
                                                                of45
Case
Case1:25-cv-00339-JDB
     1:25-cv-00339-JDB   Document
                         Document80-12
                                  31-1   Filed
                                         Filed02/13/25
                                               04/18/25   Page
                                                          Page45of
                                                                of45
